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                             U NITED STA TES DISTRICT CO URT
                             SO U TH ERN D ISTRICT OF FLO RIDA

                                  CASE N O .19-CR-80051-IfA M


  UNITED STATES OF AM ERICA

  VS.


  DEA NDR E SH A W N BUR G ESS,

                Defendant.
                                  /

                                      PLEA AG R EEM ENT

         The United States Attorney's Office forthe Southern D istrictof Florida and D EAN DRE

  SHAWN BURGESS(hereinaftertheù
                              'defendant'')enterintothefollowingagreement            .


                Thedefendantagreesto plead guilty to the solecountofthe lndictm
                                                                                  entthatcharges
  the defendantwith possession ofa Grearm and ammunition by a prohibited person - convicted

  felon,in violation ofTitle l8, United StatesCode, Section922(g)(l).

                The defendant is aware that the sentence w ill be im posed by the Court after

  considering the advisory Federal Sentencing Guidelines and Polic
                                                                        y Statements (hereinafter
  I
  isentencing Guidelines'').The defendant acknowledges and understands that the Court will
 compute an advisory sentence underthe Sentencing G uidelinesand thatthe applicable guidelines

 w illbedeterm ined by the Courtrelying in parton the resultsofapre sentence investigation by the
                                                                   -



 Court'sprobationoffice, which investigation w illcom m enceaftertheguilty plea hasbeen e
                                                                                         ntered.
 The defendant is also aware that, under certain circum stances, the Courtm ay depal't from the

 advisory sentencing guidelinerangethatithas computed, and may raise or Iow erthatadvisory
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   sentence underthe SentencingG uidelines. Thedefendantisfurtheraw are and understandsthatthe

   Cout'
       t is required to consider the advisory guideline range detennined under the Sentencing

   Guidelines,butisnotbound to imposea sentencew ithin thatadvisory range;the Coul'
                                                                                  tisperm itted
  to tailorthe ultim ate sentence in lightofotherstatutory concerns, and such sentence m ay be either

  m ore severe or less severe than the Sentencing G uidelines'advisory range. Know ing these facts
                                                                                                   ,


  the defendant understands and acknowledges that the Coul't has the authority to im pose any

  sentence w ithin and up to the statutory m axim um authorized by law forthe offensesidentified in

  paragraph 1 and that,the defendantm ay notw ithdraw the plea solely as a resultofthe sentence

  im posed.

                 Thedefendantunderstandsandacknowledgesthatbypleadingguiltyheissubject
  to the imposition ofa maximum sentence often (10)years imprisonment The defendant also
                                                                              .



  understands and acknow ledges that the Courtm ay im pose a statutory m axim um fine of up to

  $250,000 andaterm ofsupervisedreleaseofup to 3 years.

                 The defendant further understands and acknow ledges that, in addition to any

  sentence im posed pursuantto thisagreem ent, aspecialassessmentin the amountof$100.00 w ill

  be imposed.Thedefendantagreesthatany specialassessm entim posed shallbepaid atthe tim eof

  sentencing.lf the defendant is snancially unable to pay the specialassessm ent, the defendant

  agrees to present evidence to the governm entand the Coul'
                                                           tatthe tim e of sentencing as to the

  reasonsforthe defendant's failurc to pay.

                The United Statesreservestherightto inform the Courtand the probation office of
 alIfacts pertinent to the sentencing process, including aIlrelevant infonmation concenaing the

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   offenses com m itted, whether charged or not, as well as concerning the defendant and the

   defendant's background. Subject only to the express terms of any agreed-upon sentencing

   recom m endationscontained in thisagreement, the United Statesfurtherreservesthe rightto m ake

  any recom m endation as to the quality and quantity ofpunishm ent.

          6.      The United Statesagreesthatitw illrecom m end atsentencing, thatthe Courtreduce

  by tw o Ievels the sentencing guideline levelapplicable to the defendant's off
                                                                                   ense,pursuantto
  Section 3El.1(a) of the Sentencing Guidelines, based upon the defendant's recognition and
  affirm ative and tim ely acceptance of personalresponsibility. If at the tim e of sentencing the

  defendant's offense levelis determ ined to be l6 or greater, the governm entw illt5le a m otion

  requesting an additional one level decrease pursuant to Section 3El. 1(b) of the Sentencing

  G uidelines,stating thatthe defendanthasassisted authoritiesin the investigation orprosecution of

  the defendant's own m isconduct by tim ely notifying authorities of the defendant's intention to

  enteraplea ofguilty,thereby perm ittingthegovernm entto avoid preparing fortrialand pennitting

  the governm entand the Courtto allocate theirresourcesefficiently. The United States,how ever
                                                                                                    ,

  willnotbe required to m ake thism otion or these recom m endations ifthe defend
                                                                                     ant:(1)failsor
  refuses to m ake a full, accurate and com plete disclosure to the probation oftlce of the

  circum stancessurrounding the relevantoffense conduct,'(2)isfoundtohavemisrepresented facts

  tothegovernmentpriorto entering intothisplea agreement;or(3)commitsanym isconductafter
  entering into thisplea agreem ent, including butnotlim ited to com m itting astate orfederaloffense
                                                                                                    ,

 violating any term of release, or m aking false statements or m isrepresentations to any

 governm entalentity orofficial.

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                  The defendantagreesthathad thiscase proceeded to trial, the United Stateswould

   have been able to prove the following factsbeyond a reasonable doubt. O n Saturday,October20
                                                                                                     ,

   2018,the W est Palm Beach Police Departm ent was dispatched to the intersection of Banyan

   Boulevard and N orth A ustralian A ve in reference to an accidentw ith fatalities. This location was

  w ithin the City ofW estPalm Beach and the Southern D istrictofFlorida. O ftscerswho arrived on

  scene rem oved the occupants of a black N issan sedan which had previously caught fire.The

  defendantw asa backseatpassenger. Theoftscersassisted thedefendantfrom the vehicle and had

  him sitdow n nearby to check his m edicalcondition. Ashewasseated,officersobserved the grip

  ofa sem i-autom atichandgun protruding from the defendant's Ieftpants pocket. The handgun w as

  Iaterdeterm ined to be a K ahr, ModelCW 45,.
                                             45ACP pistolthatwasloaded with five (5)rounds
  inthemagazineandone(1)roundinthechamberThe gun was so Grm ly stuck in the defendant's
                                                     .



  pocketthatithad to be cutoutofthedefendant'spants pocketby a police officerAtthattim e,the

  defendant w as a convicted felon and prohibited from possessing a firearm and am m unition.

  Furtherm ore,the defendant had knowledge of the factthat he was a convicted felon,and the

  firearm and am m unition had previously traveled in interstate com m erce.

                 The United States and the defendantagree, although not binding on the Courtor

  ProbationOffice,thatthepartieswilljointlyrecommendthatthedefendantbesentencedtoaterm
  of 36 months in prison, follow by a period of supervised release as to this m atter. The parties

  furtheragreethatany tenn ofim prisonm entim posed atsentencing in this m atterbeordered to run

  concurrently w ith any sentence of imprisonm entim posed in Case N um ber 17-CR-80l47-KA M ,

 forw hich the defendantispresently on supelwised release.

         9.     The defendant understands and is aware that his sentence has not yet been

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  determ ined by the Court.The defendantisalso aware thatany estim ate ofthe probable sentencing

  rangeorsentencethatthedefendantmayreceive, w hetherthatestim atecom esfrom the defendant's

  attorney,the government,orthe probation office, isa prediction, notaprom ise,and is notbinding

  on the governm ent,the probation office orthe Court. The defendantunderstands furtherthatany

  recomm endation thatthegovernm entm akesto the Courtasto sentencing, w hetherpursuantto this

  agreem ent or otherwise. is not binding on the Court and the Coul'
                                                                   t m ay disregard the

  recomm endation in its entirety. The defendant understands and acknow ledges, as previously

  acknow ledged in paragraph 3 above, thatthedefendantm ay notw ithdraw his plea based upon the

  Court's decision not to accept a sentencing recom m endation m ade by the defendant, the

  government,orarecommendationmadejointlybyboththedefendantandthegovernment             .



         10.     The defendant hereby voluntarily abandons to the W est Palm Beach Police

  Departm entaIlright,title,and interestin the follow ing item s:

                 one(1)KahrsModelCW 45,.45ACPpistoland
                approximatelysix(6)roundsof.45ACP caliberammunition       .




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                This isthe entire agreem entand understanding between the United Statesand the

  defendant. Thereare no otheragreem ents, prom ises,representations,orunderstandings.



                                           A RIA NA FAJA RDO O RSHAN
                                           UN ITED ST TES ATTO RN EY



  (late: s-av//,                    By:
                                           AD     . c               ,
                                           ASSISTAN T U                 TES A TTO RN EY

                                                  î

  o-te,o-lt:$IA                     B y:
                                            COT BERRY ,
                                           A SSI ANT FED ERA L PUBLIC DEFEN D ER



  oate,6-/4-13               By:
                                           DEAN D RE SHAW N BURGESS,
                                           DEFEN DAN T




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